CM/ECF - U.S. Bankruptcy Court (NG 1.6.3 - LIVE)                 https://cacb-ecf.sso.dcn/cgi-bin/DktRpt.pl?763101244833226-L_1_0-1
                Case 8:22-cv-01454-ODW Document 2-1 Filed 08/05/22 Page 1 of 26 Page ID #:57

                                                                        727OBJ, NODISCH, APLDIST, APPEAL


                                                  U.S. Bankruptcy Court
                                         Central District of California (Santa Ana)
                                         Bankruptcy Petition #: 8:21-bk-11710-ES
                                                                                              Date filed:   07/09/2021
          Assigned to: Erithe A. Smith                                                     341 meeting:     04/29/2022
          Chapter 7                                                          Deadline for filing claims:    10/25/2022
                                                                     Deadline for filing claims (govt.):    01/05/2022
          Voluntary
                                                                   Deadline for objecting to discharge:     10/18/2021
          Asset                                                    Deadline for financial mgmt. course:     10/18/2021




          Debtor                                                  represented by Jamie Lynn Gallian
          Jamie Lynn Gallian                                                     PRO SE
          16222 Monterey Ln Unit 376
          Huntington Beach, CA 92649                                                Bert Briones
          ORANGE-CA                                                                 Red Hill Law Group
          714-321-3449                                                              15615 Alton Parkway
          SSN / ITIN: xxx-xx-3936                                                   Suite 210
          aka Jamie L Gallian                                                       Irvine, CA 92618
          dba J-Sandcastle Co, LLC                                                  888-733-4455
          dba J-PAD, LLC                                                            Fax : 714-733-4450
                                                                                    Email: bb@redhilllawgroup.com
                                                                                    TERMINATED: 08/09/2022

          Trustee                                                 represented by Aaron E DE Leest
          Jeffrey I Golden (TR)                                                  Danning, Gill, Israel & Krasnoff,
          Weiland Golden Goodrich LLP                                            LLP
          P.O. Box 2470                                                          1901 Avenue of the Stars
          Costa Mesa, CA 92628-2470                                              Suite 450
          (714) 966-1000                                                         Los Angeles, CA 90067-6006
                                                                                 310-277-0077
                                                                                 Fax : 310-277-5735
                                                                                 Email: adeleest@DanningGill.com

                                                                                    Eric P Israel
                                                                                    Danning Gill Israel & Krasnoff,
                                                                                    LLP
                                                                                    1901 Avenue of the Stars, Suite
                                                                                    450
                                                                                    Los Angeles, CA 90067-6006
                                                                                    310-277-0077
                                                                                    Fax : 310-277-5735
                                                                                    Email: eisrael@DanningGill.com

          U.S. Trustee
          United States Trustee (SA)
          411 W Fourth St., Suite 7160


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          Santa Ana, CA 92701-4593
          (714) 338-3400


             Filing Date                    #                                   Docket Text

                                        1          Chapter 7 Voluntary Petition for Individuals . Fee Amount $338 Filed
           07/09/2021                   (60 pgs)   by Jamie Lynn Gallian (Nguyen, Vi) (Entered: 07/09/2021)

                                        2          Statement About Your Social Security Number (Official Form 121)
                                                   Filed by Debtor Jamie Lynn Gallian . (Nguyen, Vi) (Entered:
           07/09/2021                              07/09/2021)

                                        3          Certificate of Credit Counseling Filed by Debtor Jamie Lynn Gallian .
           07/09/2021                   (1 pg)     (Nguyen, Vi) (Entered: 07/09/2021)

                                        4          Declaration by Debtor as to Whether Debtor(s) Received Income From
                                        (2 pgs)    an Employer Within 60 Days of Petition (LBR Form F1002-1) Filed by
           07/09/2021                              Debtor Jamie Lynn Gallian . (Nguyen, Vi) (Entered: 07/09/2021)

                                        5          Meeting of Creditors with 341(a) meeting to be held on 8/18/2021 at
                                        (3 pgs)    09:00 AM at TR 7, TELEPHONIC MEETING. FOR INSTRUCTIONS
                                                   CONTACT THE TRUSTEE. for Debtor and Joint Debtor (if joint case)
                                                   Cert. of Financial Management due by 10/18/2021. Last day to oppose
                                                   discharge or dischargeability is 10/18/2021. (Scheduled Automatic
           07/09/2021                              Assignment, shared account) (Entered: 07/09/2021)

                                        6          Debtor's Request to Activate Electronic Noticing (DeBN) Filed by
           07/09/2021                              Debtor Jamie Lynn Gallian . (Nguyen, Vi) (Entered: 07/09/2021)

                                                   Receipt of Chapter 7 Filing Fee - $338.00 by 16. Receipt Number
           07/09/2021                              80075587. (admin) (Entered: 07/09/2021)

                                        7          BNC Certificate of Notice (RE: related document(s)5 Meeting
                                        (5 pgs)    (AutoAssign Chapter 7)) No. of Notices: 36. Notice Date 07/11/2021.
           07/11/2021                              (Admin.) (Entered: 07/11/2021)

                                        8          Request for courtesy Notice of Electronic Filing (NEF) Filed by Smith,
           07/12/2021                   (1 pg)     Valerie. (Smith, Valerie) (Entered: 07/12/2021)

                                        9          Request for courtesy Notice of Electronic Filing (NEF) Filed by
           07/13/2021                   (1 pg)     Mellor, Mark. (Mellor, Mark) (Entered: 07/13/2021)

                                        10         Personal Financial Management Course Certificate for Debtor 1
           07/26/2021                   (1 pg)     (Official Form 423) (Lazar, Orsolya) (Entered: 07/26/2021)

                                        11         Continuance of Meeting of Creditors (Rule 2003(e)) (Trustee's 341
                                                   Filings) 341(a) Meeting Continued to be held on 9/22/2021 at 01:30
                                                   PM at TR 7, TELEPHONIC MEETING. FOR INSTRUCTIONS
                                                   CONTACT THE TRUSTEE. (Golden (TR), Jeffrey) (Entered:
           08/18/2021                              08/18/2021)




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                                        12         Notice of continued meeting of creditors and appearance of debtor (11
                                        (1 pg)     USC 341(a)) Filed by Trustee Jeffrey I Golden (TR). (Golden (TR),
          08/18/2021                               Jeffrey) (Entered: 08/18/2021)

                                        13         Request for courtesy Notice of Electronic Filing (NEF) Filed by
          08/23/2021                    (1 pg)     Masud, Laila. (Masud, Laila) (Entered: 08/23/2021)

                                        14         Request for courtesy Notice of Electronic Filing (NEF) Filed by Hays,
          08/23/2021                    (1 pg)     D. (Hays, D) (Entered: 08/23/2021)

                                        15         Amended Schedule A/B Individual: Property (Official Form 106A/B or
                                        (29 pgs)   206A/B) , Amended Schedule C: The Property You Claimed as Exempt
                                                   (Official Form 106C) , Schedule G Individual: Executory Contracts and
                                                   Unexpired Leases (Official Form 106G or 206G) , Schedule H
                                                   Individual: Your Codebtors (Official Form 106H or 206H) , Amended
                                                   Schedule I Individual: Your Income (Official Form 106I) , Statement of
                                                   Financial Affairs for Individual Filing for Bankruptcy (Official Form
                                                   107 or 207) , Statement of Intention for Individuals Filing Under
                                                   Chapter 7 (Official Form 108) , Chapter 7 Statement of Your Current
                                                   Monthly Income (Official Form 122A-1) (BNC Option) Filed by
                                                   Debtor Jamie Lynn Gallian . [EDB] (Law, Tamika) (Entered:
          09/07/2021                               09/07/2021)

                                        16         Amended Schedule A/B Individual: Property (Official Form 106A/B or
                                        (29 pgs)   206A/B) , FIRST AMENDMENT Amended Schedule C: The Property
                                                   You Claimed as Exempt (Official Form 106C) , Amended Schedule I
                                                   Individual: Your Income (Official Form 106I) , Amended Schedule G
                                                   Individual: Executory Contracts and Unexpired Leases (Official Form
                                                   106G or 206G) , Amended Statement of Financial Affairs for
                                                   Individual Filing for Bankruptcy (Official Form 107 or 207) ,Amended
                                                   Statement of Intention for Individuals Filing Under Chapter 7 (Official
                                                   Form 108) , Amended Statement of Related Cases (LBR Form
                                                   1015-2.1) , Amended Chapter 7 Statement of Your Current Monthly
                                                   Income (Official Form 122A-1) (BNC Option) , Proof of service Filed
          09/22/2021                               by Debtor Jamie Lynn Gallian . (Nguyen, Vi) (Entered: 09/22/2021)

                                        17         Amending Schedules (D) and (E/F) ,Amended List of Creditors
                                        (15 pgs)   (Master Mailing List of Creditors) , Amended Verification of Master
                                                   Mailing List of Creditors (LBR Form F1007-1), Proof of Service. Filed
          09/22/2021                               by Debtor Jamie Lynn Gallian . (Nguyen, Vi) (Entered: 09/22/2021)

                                        18         Continuance of Meeting of Creditors (Rule 2003(e)) (Trustee's 341
                                                   Filings) 341(a) Meeting Continued to be held on 10/6/2021 at 01:30
                                                   PM at TR 7, TELEPHONIC MEETING. FOR INSTRUCTIONS
                                                   CONTACT THE TRUSTEE. (Golden (TR), Jeffrey) (Entered:
          09/22/2021                               09/22/2021)

                                        19         Notice of continued meeting of creditors and appearance of debtor (11
                                        (1 pg)     USC 341(a)) Filed by Trustee Jeffrey I Golden (TR). (Golden (TR),
          09/22/2021                               Jeffrey) (Entered: 09/22/2021)

                                                   Receipt of Amendment Filing Fee - $32.00 by 16. Receipt Number
          09/22/2021                               80075677. (admin) (Entered: 09/22/2021)




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CM/ECF - U.S. Bankruptcy Court (NG 1.6.3 - LIVE)                          https://cacb-ecf.sso.dcn/cgi-bin/DktRpt.pl?763101244833226-L_1_0-1
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                                        20                 Continuance of Meeting of Creditors (Rule 2003(e)) (Trustee's 341
                                                           Filings) 341(a) Meeting Continued to be held on 10/14/2021 at 03:00
                                                           PM at TR 7, TELEPHONIC MEETING. FOR INSTRUCTIONS
                                                           CONTACT THE TRUSTEE. (Golden (TR), Jeffrey) (Entered:
          10/07/2021                                       10/07/2021)

                                        21                 Notice of continued meeting of creditors and appearance of debtor (11
                                        (1 pg)             USC 341(a)) Filed by Trustee Jeffrey I Golden (TR). (Golden (TR),
          10/07/2021                                       Jeffrey) (Entered: 10/07/2021)

                                        22                 Amended Schedule A/B Individual: Property (Official Form 106A/B or
                                        (31 pgs)           206A/B) , Amended Schedule C: The Property You Claimed as Exempt
                                                           (Official Form 106C) , Amending Schedules (D) (E/F) , Schedule G
                                                           Individual: Executory Contracts and Unexpired Leases (Official Form
                                                           106G or 206G) , Schedule H Individual: Your Codebtors (Official
                                                           Form 106H or 206H) , Statement of Intention for Individuals Filing
                                                           Under Chapter 7 (Official Form 108) [EDB] Filed by Debtor Jamie
          10/14/2021                                       Lynn Gallian . (Law, Tamika) (Entered: 10/14/2021)

                                        23                 Notice of Deficiency of Filing Fees Required to Add Additional
                                        (1 pg)             Creditors (BNC) (RE: related document(s)22 Schedule A/B: Property
                                                           (Official Form 106A/B or 206A/B) filed by Debtor Jamie Lynn
                                                           Gallian, Schedule C: The Property You Claimed as Exempt (Official
                                                           Form 106C), Amending Schedules D and/or E/F (Official Form 106D,
                                                           106E/F, 206D, or 206E/F) (Fee), Schedule G: Executory Contracts and
                                                           Unexpired Leases (Official Form 106G or 206G), Schedule H: Your
                                                           Codebtors (Official Form 106H or 206H), Statement of Intention for
                                                           Individuals Filing Under Chapter 7 (Official Form B8, or 108)) (Law,
          10/14/2021                                       Tamika) (Entered: 10/14/2021)

                                        24                 Continuance of Meeting of Creditors (Rule 2003(e)) (Trustee's 341
                                                           Filings) 341(a) Meeting Continued to be held on 11/10/2021 at 03:00
                                                           PM at TR 7, TELEPHONIC MEETING. FOR INSTRUCTIONS
                                                           CONTACT THE TRUSTEE. (Golden (TR), Jeffrey) (Entered:
          10/15/2021                                       10/15/2021)

                                        25                 Notice of continued meeting of creditors and appearance of debtor (11
                                        (1 pg)             USC 341(a)) Filed by Trustee Jeffrey I Golden (TR). (Golden (TR),
          10/15/2021                                       Jeffrey) (Entered: 10/15/2021)

                                        26                 BNC Certificate of Notice (RE: related document(s)23 Notice of
                                        (3 pgs)            Deficiency of Filing Fees Required to Add Additional Creditors
                                                           (BNC)) No. of Notices: 1. Notice Date 10/16/2021. (Admin.) (Entered:
          10/16/2021                                       10/16/2021)

                                        27                 Adversary case 8:21-ap-01095. Complaint by The Huntington Beach
                                        (74 pgs; 2 docs)   Gables Homeowners Association against Jamie Lynn Gallian , Randall
                                                           L Nickel . Fee Amount $350 (Attachments: # 1 Adv Cover Sheet)
                                                           Nature of Suit: (41 (Objection / revocation of discharge - 727(c),
                                                           (d),(e))) ,(21 (Validity, priority or extent of lien or other interest in
                                                           property)) ,(62 (Dischargeability - 523(a)(2), false pretenses, false
          10/18/2021                                       representation, actual fraud)) (Law, Tamika) (Entered: 10/18/2021)




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                                        28                 Adversary case 8:21-ap-01096. Complaint by Janine Jasso against
                                        (93 pgs; 2 docs)   Jamie Lynn Gallian . Fee Amount $350 (Attachments: # 1 Adv Cover
                                                           Sheet) Nature of Suit: (41 (Objection / revocation of discharge - 727(c),
                                                           (d),(e))) ,(65 (Dischargeability - other)) ,(13 (Recovery of
                                                           money/property - 548 fraudulent transfer)) ,(62 (Dischargeability -
                                                           523(a)(2), false pretenses, false representation, actual fraud)) - Original
          10/18/2021                                       not signed - (Law, Tamika) (Entered: 10/18/2021)

                                        29                 Stipulation By Jeffrey I Golden (TR) and Stipulation to Extend Time to
                                        (3 pgs)            File a Complaint Objecting to Debtors Discharge Pursuant to 11
                                                           U.S.C. § 727 and Federal Rule of Bankruptcy Procedure 4004 (with
                                                           Proof of Service) Filed by Trustee Jeffrey I Golden (TR) (Golden (TR),
          10/18/2021                                       Jeffrey) (Entered: 10/18/2021)

                                        30                 Adversary case 8:21-ap-01097. Complaint by Houser Bros. Co., a
                                        (25 pgs; 2 docs)   California general partnership against Jamie Lynn Gallian. Fee Amount
                                                           $350 Complaint to (1) Determine Dischargeability of Debt Pursuant to
                                                           11 U.S.C. Sections 523 (a)(2)(A) and (a)(6); (2) Deny Discharge
                                                           Pursuant to 11 U.S.C. Sections 727 (a)(2)(A), (a)(4), and (a)(5)
                                                           (Attachments: # 1 Adversary Proceeding Cover Sheet) Nature of Suit:
                                                           (62 (Dischargeability - 523(a)(2), false pretenses, false representation,
                                                           actual fraud)),(68 (Dischargeability - 523(a)(6), willful and malicious
                                                           injury)),(65 (Dischargeability - other)) (Masud, Laila) (Entered:
          10/18/2021                                       10/18/2021)

                                        31                 Order Approving Stipulation to Extend Time to File a Complaint
                                        (2 pgs)            Objecting to Debtor's Discharge Pursuant to 11 U.S.C. Section 727 and
                                                           Federal Rule of Bankruptcy Procedure 4004. The Deadline for the
                                                           Trustee, or United States Trustee, to file a Complaint Objecting to the
                                                           Debtor's Discharge under 11 U.S.C. Section 727 is Extended to and
                                                           Including November 17, 2021 (BNC-PDF) (Related Doc # 29 ) Signed
          10/19/2021                                       on 10/19/2021 (Duarte, Tina) (Entered: 10/19/2021)

                                        32                 Debtor's Request to Activate Electronic Noticing (DeBN) Filed by
                                                           Debtor Jamie Lynn Gallian [EDB] (Law, Tamika) (Entered:
          10/20/2021                                       10/20/2021)

                                        33                 BNC Certificate of Notice - PDF Document. (RE: related
                                        (4 pgs)            document(s)31 Order on Motion to Extend Time (Generic) (BNC-
                                                           PDF)) No. of Notices: 1. Notice Date 10/21/2021. (Admin.) (Entered:
          10/21/2021                                       10/21/2021)

                                        34                 Continuance of Meeting of Creditors (Rule 2003(e)) (Trustee's 341
                                                           Filings) 341(a) Meeting Continued to be held on 12/1/2021 at 11:00
                                                           AM at TR 7, TELEPHONIC MEETING. FOR INSTRUCTIONS
                                                           CONTACT THE TRUSTEE. (Golden (TR), Jeffrey) (Entered:
          11/10/2021                                       11/10/2021)

                                        35                 Notice of continued meeting of creditors and appearance of debtor (11
                                        (1 pg)             USC 341(a)) Filed by Trustee Jeffrey I Golden (TR). (Golden (TR),
          11/10/2021                                       Jeffrey) (Entered: 11/10/2021)

                                        36                 Declaration by Debtor as to Whether Debtor(s) Received Income From
          11/16/2021                    (2 pgs)            an Employer Within 60 Days of Petition (LBR Form F1002-1) [EDB]



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CM/ECF - U.S. Bankruptcy Court (NG 1.6.3 - LIVE)                 https://cacb-ecf.sso.dcn/cgi-bin/DktRpt.pl?763101244833226-L_1_0-1
               Case 8:22-cv-01454-ODW Document 2-1 Filed 08/05/22 Page 6 of 26 Page ID #:62
                                                   Filed by Debtor Jamie Lynn Gallian . (Law, Tamika) (Entered:
                                                   11/17/2021)

                                        37         Amended Schedule A/B Individual: Property (Official Form 106A/B or
                                        (26 pgs)   206A/B) , Amended Schedule C: The Property You Claimed as Exempt
                                                   (Official Form 106C) , Schedule G Individual: Executory Contracts and
                                                   Unexpired Leases (Official Form 106G or 206G) , Schedule H
                                                   Individual: Your Codebtors (Official Form 106H or 206H) , Amended
                                                   Schedule I Individual: Your Income (Official Form 106I) , Statement of
                                                   Financial Affairs for Individual Filing for Bankruptcy (Official Form
                                                   107 or 207) , Statement of Intention for Individuals Filing Under
                                                   Chapter 7 (Official Form 108) [EDB] Filed by Debtor Jamie Lynn
          11/16/2021                               Gallian . (Law, Tamika) (Entered: 11/17/2021)

                                        38         Amended Schedule A/B Individual: Property (Official Form 106A/B or
                                        (23 pgs)   206A/B) , Amended Schedule C: The Property You Claimed as Exempt
                                                   (Official Form 106C) , Schedule G Individual: Executory Contracts and
                                                   Unexpired Leases (Official Form 106G or 206G) , Statement of
                                                   Financial Affairs for Individual Filing for Bankruptcy (Official Form
                                                   107 or 207) , Statement of Intention for Individuals Filing Under
                                                   Chapter 7 (Official Form 108) [EDB] Filed by Debtor Jamie Lynn
          11/22/2021                               Gallian . (Law, Tamika) (Entered: 11/23/2021)

                                        39         Amended Schedule A/B Individual: Property (Official Form 106A/B or
                                        (26 pgs)   206A/B) , Amended Schedule C: The Property You Claimed as Exempt
                                                   (Official Form 106C) , Schedule G Individual: Executory Contracts and
                                                   Unexpired Leases (Official Form 106G or 206G) , Statement of
                                                   Financial Affairs for Individual Filing for Bankruptcy (Official Form
                                                   107 or 207) , Statement of Intention for Individuals Filing Under
                                                   Chapter 7 (Official Form 108) [EDB] Filed by Debtor Jamie Lynn
          11/23/2021                               Gallian . (Law, Tamika) (Entered: 11/23/2021)

                                        40         Continuance of Meeting of Creditors (Rule 2003(e)) (Trustee's 341
                                                   Filings) 341(a) Meeting Continued to be held on 12/15/2021 at 10:00
                                                   AM at TR 7, TELEPHONIC MEETING. FOR INSTRUCTIONS
                                                   CONTACT THE TRUSTEE. (Golden (TR), Jeffrey) (Entered:
          12/01/2021                               12/01/2021)

                                        41         Notice of continued meeting of creditors and appearance of debtor (11
                                        (1 pg)     USC 341(a)) Filed by Trustee Jeffrey I Golden (TR). (Golden (TR),
          12/01/2021                               Jeffrey) (Entered: 12/01/2021)

                                        42         Amending Schedules (D) (E/F) Filed by Debtor Jamie Lynn Gallian .
          12/01/2021                    (15 pgs)   (Law, Tamika) (Entered: 12/01/2021)

                                                   Receipt of Amendment Filing Fee - $32.00 by 08. Receipt Number
                                                   80075783. (admin) Paid in reference to dock #22 (Deficiency Ntc dock
          12/01/2021                               #23). Modified on 12/3/2021 (Law, Tamika). (Entered: 12/02/2021)

                                                   Receipt of Amendment Filing Fee - $32.00 by 08. Receipt Number
          12/01/2021                               80075784. (admin) (Entered: 12/02/2021)

                                        43         Continuance of Meeting of Creditors (Rule 2003(e)) (Trustee's 341
          12/15/2021                               Filings) 341(a) Meeting Continued to be held on 1/7/2022 at 03:00 PM
                                                   at TR 7, TELEPHONIC MEETING. FOR INSTRUCTIONS


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CM/ECF - U.S. Bankruptcy Court (NG 1.6.3 - LIVE)                  https://cacb-ecf.sso.dcn/cgi-bin/DktRpt.pl?763101244833226-L_1_0-1
               Case 8:22-cv-01454-ODW Document 2-1 Filed 08/05/22 Page 7 of 26 Page ID #:63
                                                    CONTACT THE TRUSTEE. (Golden (TR), Jeffrey) (Entered:
                                                    12/15/2021)

                                        44          Notice of continued meeting of creditors and appearance of debtor (11
                                        (1 pg)      USC 341(a)) Filed by Trustee Jeffrey I Golden (TR). (Golden (TR),
          12/15/2021                                Jeffrey) (Entered: 12/15/2021)

                                        45          Notice of motion and motion for relief from automatic stay with
                                        (16 pgs)    supporting declarations ACTION IN NON-BANKRUPTCY FORUM
                                                    RE: Randall I. Nickel vs. The Huntington Beach Gables HOA et al.,
                                                    Superior Court of California, County of Orange, Central Justice Center
                                                    Docket Number: 30-2020-01163055-CU-OR-CJC . Fee Amount $188,
                                                    Filed by Creditor The Huntington Beach Gables Homeowners
                                                    Association [NOTE: Attorney Michael Poole Notified via voice mail
                                                    and e-mail to file supplemental notice of hearing to be held remotely
                                                    using Zoomgov audio and video hearing] (Duarte, Tina) (Entered:
          12/22/2021                                12/22/2021)

                                        46          Memorandum of Points and Authorities in Support of Creditor The
                                        (112 pgs)   Huntington Beach Gables Homeowners Association's Motion for Relief
                                                    from the Automatic Stay; Filed by Creditor The Huntington Beach
                                                    Gables Homeowners Association. [NOTE: Attorney Michael Poole
                                                    Notified via voice mail and e-mail to file supplemental notice of
                                                    hearing to be held remotely using Zoomgov audio and video hearing]
          12/22/2021                                (Duarte, Tina) (Entered: 12/22/2021)

                                                    Receipt of Motion Filing Fee - $188.00 by 08. Receipt Number
          12/22/2021                                80075831. (admin) (Entered: 12/22/2021)

                                        47          Supplemental Notice of Hearing to Be Held Remotely Using Zoomgov
                                        (3 pgs)     Audio and Video, Filed by Creditor The Huntington Beach Gables
                                                    Homeowners Association [Filed by FAX] (RE: related document(s)45
                                                    Notice of motion and motion for relief from automatic stay with
                                                    supporting declarations ACTION IN NON-BANKRUPTCY FORUM
                                                    RE: Randall I. Nickel vs. The Huntington Beach Gables HOA et al.,
                                                    Superior Court of California, County of Orange, Central Justice Center
                                                    Docket Number: 30-2020-01163055-CU-OR-CJC . Fee Amount $188,
                                                    Filed by Creditor The Huntington Beach Gables Homeowners
                                                    Association [NOTE: Attorney Michael Poole Notified via voice mail
                                                    and e-mail to file supplemental notice of hearing to be held remotely
                                                    using Zoomgov audio and video hearing] filed by Creditor The
                                                    Huntington Beach Gables Homeowners Association). The Hearing date
                                                    is set for 1/20/2022 at 10:00 AM at Crtrm 5A, 411 W Fourth St., Santa
                                                    Ana, CA 92701. The case judge is Erithe A. Smith. NOTE: [NOTE:
                                                    This document is to be docketed in the main bankruptcy case. Attorney
                                                    Michael Poole Notified via voice mail and e-mail to file supplemental
                                                    notice of hearing to be held remotely using Zoomgov audio and video
                                                    hearing using the correct form for bankruptcy] (Duarte, Tina). (Entered:
          12/29/2021                                12/29/2021)

                                        48          Hearing Set (RE: related document(s)45 Motion for Relief from Stay -
                                                    ACTION IN NON-BANKRUPTCY FORUM filed by Creditor The
                                                    Huntington Beach Gables Homeowners Association). The Hearing date
                                                    is set for 1/20/2022 at 10:00 AM at Crtrm 5A, 411 W Fourth St., Santa
          12/29/2021                                Ana, CA 92701. The case judge is Erithe A. Smith (Duarte, Tina)



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CM/ECF - U.S. Bankruptcy Court (NG 1.6.3 - LIVE)                 https://cacb-ecf.sso.dcn/cgi-bin/DktRpt.pl?763101244833226-L_1_0-1
               Case 8:22-cv-01454-ODW Document 2-1 Filed 08/05/22 Page 8 of 26 Page ID #:64
                                                   (Entered: 12/29/2021)

                                        49         Supplemental Notice of Hearing to be Held Remotely Using Zoomgov
                                        (3 pgs)    Audio and Video; Filed by Creditor The Huntington Beach Gables
                                                   Homeowners Association [By FAX] (RE: related document(s)45
                                                   Notice of motion and motion for relief from automatic stay with
                                                   supporting declarations ACTION IN NON-BANKRUPTCY FORUM
                                                   RE: Randall I. Nickel vs. The Huntington Beach Gables HOA et al.,
                                                   Superior Court of California, County of Orange, Central Justice Center
                                                   Docket Number: 30-2020-01163055-CU-OR-CJC . Fee Amount $188,
                                                   Filed by Creditor The Huntington Beach Gables Homeowners
                                                   Association [NOTE: Attorney Michael Poole Notified via voice mail
                                                   and e-mail to file supplemental notice of hearing to be held remotely
                                                   using Zoomgov audio and video hearing]). The Hearing date is set for
                                                   1/20/2022 at 10:00 AM at Crtrm 5A, 411 W Fourth St., Santa Ana, CA
                                                   92701. The case judge is Erithe A. Smith (Duarte, Tina) (Entered:
          01/04/2022                               01/04/2022)

                                        50         Continuance of Meeting of Creditors (Rule 2003(e)) (Trustee's 341
                                                   Filings) 341(a) Meeting Continued to be held on 1/24/2022 at 03:00
                                                   PM at TR 7, TELEPHONIC MEETING. FOR INSTRUCTIONS
                                                   CONTACT THE TRUSTEE. (Golden (TR), Jeffrey) (Entered:
          01/07/2022                               01/07/2022)

                                        51         Notice of continued meeting of creditors and appearance of debtor (11
                                        (1 pg)     USC 341(a)) Filed by Trustee Jeffrey I Golden (TR). (Golden (TR),
          01/07/2022                               Jeffrey) (Entered: 01/07/2022)

                                        52         Notice of Continuance of Hearing of Creditor The Huntington Beach
                                        (3 pgs)    Gables Homeowners Association's Motion for Relief from the
                                                   Automatic Stay; Filed by Creditor The Huntington Beach Gables
                                                   Homeowners Association [By FAX] (RE: related document(s)45
                                                   Notice of motion and motion for relief from automatic stay with
                                                   supporting declarations ACTION IN NON-BANKRUPTCY FORUM
                                                   RE: Randall I. Nickel vs. The Huntington Beach Gables HOA et al.,
                                                   Superior Court of California, County of Orange, Central Justice Center
                                                   Docket Number: 30-2020-01163055-CU-OR-CJC . Fee Amount $188,
                                                   Filed by Creditor The Huntington Beach Gables Homeowners
                                                   Association [NOTE: Attorney Michael Poole Notified via voice mail
                                                   and e-mail to file supplemental notice of hearing to be held remotely
                                                   using Zoomgov audio and video hearing]). The Hearing date is
                                                   CONTINUED TO 2/17/2022 at 10:30 AM at Crtrm 5A, 411 W Fourth
                                                   St., Santa Ana, CA 92701. The case judge is Erithe A. Smith (Duarte,
          01/14/2022                               Tina) (Entered: 01/14/2022)

                                        53         Supplemental Notice of Hearing to Be Held Remotely Using Zoomgov
                                        (3 pgs)    Audio and Video; Filed by Creditor The Huntington Beach Gables
                                                   Homeowners Association [By FAX] (RE: related document(s)45
                                                   Notice of motion and motion for relief from automatic stay with
                                                   supporting declarations ACTION IN NON-BANKRUPTCY FORUM
                                                   RE: Randall I. Nickel vs. The Huntington Beach Gables HOA et al.,
                                                   Superior Court of California, County of Orange, Central Justice Center
                                                   Docket Number: 30-2020-01163055-CU-OR-CJC . Fee Amount $188,
                                                   Filed by Creditor The Huntington Beach Gables Homeowners
                                                   Association [NOTE: Attorney Michael Poole Notified via voice mail
          01/14/2022
                                                   and e-mail to file supplemental notice of hearing to be held remotely


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CM/ECF - U.S. Bankruptcy Court (NG 1.6.3 - LIVE)                  https://cacb-ecf.sso.dcn/cgi-bin/DktRpt.pl?763101244833226-L_1_0-1
               Case 8:22-cv-01454-ODW Document 2-1 Filed 08/05/22 Page 9 of 26 Page ID #:65
                                                    using Zoomgov audio and video hearing]). The Hearing date is set for
                                                    2/17/2022 at 10:30 AM at Crtrm 5A, 411 W Fourth St., Santa Ana, CA
                                                    92701. The case judge is Erithe A. Smith (Duarte, Tina) (Entered:
                                                    01/14/2022)

                                        56          Hearing Rescheduled/Continued (RE: related document(s)45 Motion
                                                    for Relief from Stay - ACTION IN NON-BANKRUPTCY FORUM
                                                    filed by Creditor The Huntington Beach Gables Homeowners
                                                    Association). The Hearing is CONTINUED TO 2/17/2022 at 10:30
                                                    AM at Crtrm 5A, 411 W Fourth St., Santa Ana, CA 92701, Per Hearing
                                                    Held 1/13/2022. The case judge is Erithe A. Smith (Duarte, Tina)
          01/20/2022                                (Entered: 01/25/2022)

                                        54          Continuance of Meeting of Creditors (Rule 2003(e)) (Trustee's 341
                                                    Filings) 341(a) Meeting Continued to be held on 2/14/2022 at 09:00
                                                    AM at TR 7, TELEPHONIC MEETING. FOR INSTRUCTIONS
                                                    CONTACT THE TRUSTEE. (Golden (TR), Jeffrey) (Entered:
          01/24/2022                                01/24/2022)

                                        55          Notice of continued meeting of creditors and appearance of debtor (11
                                        (1 pg)      USC 341(a)) Filed by Trustee Jeffrey I Golden (TR). (Golden (TR),
          01/24/2022                                Jeffrey) (Entered: 01/24/2022)

                                        57          Notice of Proposed Abandonment of Property of the Estate Trustee's
                                        (8 pgs)     Notice of Intent to Abandon Estate's Interest in an Unscheduled Check,
                                                    With Proof of Service Filed by Trustee Jeffrey I Golden (TR). (DE
          02/04/2022                                Leest, Aaron) (Entered: 02/04/2022)

                                        58          Request for courtesy Notice of Electronic Filing (NEF) Filed by Israel,
          02/04/2022                    (1 pg)      Eric. (Israel, Eric) (Entered: 02/04/2022)

                                        59          Notice -Notice of Withdrawal re: Trustee's Notice of Intent to Abandon
                                        (3 pgs)     Estate's Interest in an Unscheduled Check; proof of service Filed by
                                                    Trustee Jeffrey I Golden (TR) (RE: related document(s)57 Notice of
                                                    Proposed Abandonment of Property of the Estate Trustee's Notice of
                                                    Intent to Abandon Estate's Interest in an Unscheduled Check, With
                                                    Proof of Service Filed by Trustee Jeffrey I Golden (TR). (DE Leest,
          02/07/2022                                Aaron)). (DE Leest, Aaron) (Entered: 02/07/2022)

                                        60          Notice of Proposed Abandonment of Property of the Estate -Trustee's
                                        (8 pgs)     Notice of Intent to Abandon Estate's Interest in Debtor's Covid 19 Rent
                                                    Relief Check; proof of service Filed by Trustee Jeffrey I Golden (TR).
          02/11/2022                                (DE Leest, Aaron) (Entered: 02/11/2022)

                                        61          Response to Motion Regarding the Automatic Stay and Declarations In
                                        (115 pgs)   Support; Memorandum of Points and Authorities in Opposition of
                                                    Creditor The Huntington Beach Gables Homeowners Associations'
                                                    Motion for Relief from the Automatic Stay 'EDB' (related document(s):
                                                    45 Notice of motion and motion for relief from automatic stay with
                                                    supporting declarations ACTION IN NON-BANKRUPTCY FORUM
                                                    RE: Randall I. Nickel vs. The Huntington Beach Gables HOA et al.,
                                                    Superior Court of California, County of Orange, Central Justice Cen
                                                    filed by Creditor The Huntington Beach Gables Homeowners
                                                    Association) Filed by Debtor Jamie Lynn Gallian (Le, James) Warning:
          02/11/2022                                Item subsequently amended by docket entry no:62 Modified on


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CM/ECF - U.S. Bankruptcy Court (NG 1.6.3 - LIVE)                  https://cacb-ecf.sso.dcn/cgi-bin/DktRpt.pl?763101244833226-L_1_0-1
               Case 8:22-cv-01454-ODW Document 2-1 Filed 08/05/22 Page 10 of 26 Page ID #:66
                                                    2/11/2022 (Le, James). (Entered: 02/11/2022)

                                        62          Amended Response to Motion Regarding the Automatic Stay and
                                        (241 pgs)   Declarations In Support; Memorandum of Points and Authorities in
                                                    Opposition of Creditor The Huntington Beach Gables Homeowners
                                                    Associations' Motion for Relief from the Automatic Stay 'EDB'(related
                                                    document(s): 45 Notice of motion and motion for relief from automatic
                                                    stay with supporting declarations ACTION IN NON-BANKRUPTCY
                                                    FORUM RE: Randall I. Nickel vs. The Huntington Beach Gables HOA
                                                    et al., Superior Court of California, County of Orange, Central Justice
                                                    Cen filed by Creditor The Huntington Beach Gables Homeowners
                                                    Association) Filed by Debtor Jamie Lynn Gallian (Le, James) (Entered:
           02/11/2022                               02/11/2022)

                                        63          Continuance of Meeting of Creditors (Rule 2003(e)) (Trustee's 341
                                                    Filings) 341(a) Meeting Continued to be held on 2/28/2022 at 03:00
                                                    PM at TR 7, TELEPHONIC MEETING. FOR INSTRUCTIONS
                                                    CONTACT THE TRUSTEE. (Golden (TR), Jeffrey) (Entered:
           02/15/2022                               02/15/2022)

                                        64          Notice of continued meeting of creditors and appearance of debtor (11
                                        (1 pg)      USC 341(a)) Filed by Trustee Jeffrey I Golden (TR). (Golden (TR),
           02/15/2022                               Jeffrey) (Entered: 02/15/2022)

                                        65          Hearing Held (RE: related document(s)45 Motion for Relief from Stay
                                                    - ACTION IN NON-BANKRUPTCY FORUM filed by Creditor The
                                                    Huntington Beach Gables Homeowners Association) - Deny motion
                                                    without prejudice to re-filing the motion if the cause of action for
                                                    voidable transfer is abandoned or deemed abandoned by the chapter 7
                                                    trustee pursuant to 11 U.S.C. 554. (Daniels, Sally) (Entered:
           02/17/2022                               02/28/2022)

                                        66          Continuance of Meeting of Creditors (Rule 2003(e)) (Trustee's 341
                                                    Filings) 341(a) Meeting Continued to be held on 3/21/2022 at 03:00
                                                    PM at TR 7, TELEPHONIC MEETING. FOR INSTRUCTIONS
                                                    CONTACT THE TRUSTEE. (Golden (TR), Jeffrey) (Entered:
           02/28/2022                               02/28/2022)

                                        67          Notice of continued meeting of creditors and appearance of debtor (11
                                        (1 pg)      USC 341(a)) Filed by Trustee Jeffrey I Golden (TR). (Golden (TR),
           02/28/2022                               Jeffrey) (Entered: 02/28/2022)

                                        68          Declaration That No Party Requested a Hearing on Motion (LBR
                                        (12 pgs)    9013-1(o)(3)) 60; proof of service Filed by Trustee Jeffrey I Golden
           03/03/2022                               (TR). (DE Leest, Aaron) (Entered: 03/03/2022)

                                        69          Notice of lodgment of Order in Bankruptcy Case; proof of service Filed
                                        (6 pgs)     by Trustee Jeffrey I Golden (TR) (RE: related document(s)60 Notice of
                                                    Proposed Abandonment of Property of the Estate -Trustee's Notice of
                                                    Intent to Abandon Estate's Interest in Debtor's Covid 19 Rent Relief
                                                    Check; proof of service Filed by Trustee Jeffrey I Golden (TR). (DE
           03/03/2022                               Leest, Aaron)). (DE Leest, Aaron) (Entered: 03/03/2022)




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CM/ECF - U.S. Bankruptcy Court (NG 1.6.3 - LIVE)                  https://cacb-ecf.sso.dcn/cgi-bin/DktRpt.pl?763101244833226-L_1_0-1
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                                        70          Order Authorizing Trustee's Abandonment of Estate's Interest in
                                        (2 pgs)     Debtor's Covid 19 Rent Relief Check (BNC-PDF) (Related Doc # 60 )
           03/04/2022                               Signed on 3/4/2022 (Duarte, Tina) (Entered: 03/04/2022)

                                        71          BNC Certificate of Notice - PDF Document. (RE: related
                                        (4 pgs)     document(s)70 Order on Motion to Abandon (BNC-PDF)) No. of
           03/06/2022                               Notices: 0. Notice Date 03/06/2022. (Admin.) (Entered: 03/06/2022)

                                        72          Addendum to voluntary petition , Statement of Related Cases (LBR
                                        (64 pgs)    Form 1015-2.1) , Amended Schedule A/B Individual: Property
                                                    (Official Form 106A/B or 206A/B) , Amended Schedule C: The
                                                    Property You Claimed as Exempt (Official Form 106C) , Schedule G
                                                    Individual: Executory Contracts and Unexpired Leases (Official Form
                                                    106G or 206G) , Schedule H Individual: Your Codebtors (Official
                                                    Form 106H or 206H) , Amended Schedule I Individual: Your Income
                                                    (Official Form 106I) , Declaration About an Individual Debtor's
                                                    Schedules (Official Form 106Dec) , Statement of Financial Affairs for
                                                    Individual Filing for Bankruptcy (Official Form 107 or 207) ,
                                                    Statement of Intention for Individuals Filing Under Chapter 7 (Official
                                                    Form 108) , Chapter 7 Statement of Your Current Monthly Income
                                                    (Official Form 122A-1) (BNC Option) , Verification of Master Mailing
                                                    List of Creditors (LBR Form F1007-1), Proof of service. Verification of
                                                    Declaration of Homestead filed with Orange County Clerk Recorder.
                                                    Filed by Debtor Jamie Lynn Gallian . (Nguyen, Vi) (Entered:
           03/11/2022                               03/14/2022)

                                        73          Addendum to voluntary petition to amend Debtor's DBA, Item #11 pg
                                        (11 pgs)    3, Item #16b pg6. Filed by Debtor Jamie Lynn Gallian . (Nguyen, Vi)
           03/11/2022                               (Entered: 03/14/2022)

                                        74          Document re Verification of Declaration of Homestead. Filed by
                                        (4 pgs)     Debtor Jamie Lynn Gallian (RE: related document(s)72 Addendum to
                                                    Vol Pet filed by Debtor Jamie Lynn Gallian, Statement of Related
                                                    Cases (LBR Form 1015-2.1), Schedule A/B: Property (Official Form
                                                    106A/B or 206A/B), Schedule C: The Property You Claimed as
                                                    Exempt (Official Form 106C), Schedule G: Executory Contracts and
                                                    Unexpired Leases (Official Form 106G or 206G), Schedule H: Your
                                                    Codebtors (Official Form 106H or 206H), Schedule I: Your Income
                                                    (Official Form 106I), Declaration About an Individual Debtor's
                                                    Schedules (Official Form 106Dec), Statement of Financial Affairs
                                                    (Official Form 107 or 207) (Official Form 107 or 207), Statement of
                                                    Intention for Individuals Filing Under Chapter 7 (Official Form B8, or
                                                    108), Chapter 7 Statement of Your Current Monthly Income (Official
                                                    Form 122A-1) (BNC Option), Verification of Master Mailing List of
           03/11/2022                               Creditors (LBR F1007-1)) (Nguyen, Vi) (Entered: 03/14/2022)

                                        75          Amending Schedules (D) and (E/F) Filed by Debtor Jamie Lynn
           03/15/2022                   (22 pgs)    Gallian . (Nguyen, Vi) (Entered: 03/15/2022)

                                                    Receipt of Amendment Filing Fee - $32.00 by 16. Receipt Number
           03/15/2022                               80075964. (admin) (Entered: 03/15/2022)

                                        76          Proof of service of Amended Schedules Filed by Debtor Jamie Lynn
           03/16/2022                   (105 pgs)   Gallian . [EDB] (Law, Tamika) (Entered: 03/16/2022)



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CM/ECF - U.S. Bankruptcy Court (NG 1.6.3 - LIVE)                 https://cacb-ecf.sso.dcn/cgi-bin/DktRpt.pl?763101244833226-L_1_0-1
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                                        77         Statement of Corporate Ownership -none listed Filed by Debtor Jamie
           03/16/2022                   (8 pgs)    Lynn Gallian . [EDB] (Law, Tamika) (Entered: 03/17/2022)

                                        78         Continuance of Meeting of Creditors (Rule 2003(e)) (Trustee's 341
                                                   Filings) 341(a) Meeting Continued to be held on 4/4/2022 at 03:00 PM
                                                   at TR 7, TELEPHONIC MEETING. FOR INSTRUCTIONS
                                                   CONTACT THE TRUSTEE. (Golden (TR), Jeffrey) (Entered:
           03/21/2022                              03/21/2022)

                                        79         Notice of continued meeting of creditors and appearance of debtor (11
                                        (1 pg)     USC 341(a)) Filed by Trustee Jeffrey I Golden (TR). (Golden (TR),
           03/21/2022                              Jeffrey) (Entered: 03/21/2022)

                                        80         Chapter 7 Statement of Your Current Monthly Income (Official Form
                                        (6 pgs)    122A-1) (BNC Option) Filed by Debtor Jamie Lynn Gallian . [EDB]
           03/22/2022                              (Law, Tamika) (Entered: 03/23/2022)

                                        81         Continuance of Meeting of Creditors (Rule 2003(e)) (Trustee's 341
                                                   Filings) 341(a) Meeting Continued to be held on 4/11/2022 at 03:00
                                                   PM at TR 7, TELEPHONIC MEETING. FOR INSTRUCTIONS
                                                   CONTACT THE TRUSTEE. (Golden (TR), Jeffrey) (Entered:
           04/04/2022                              04/04/2022)

                                        82         Notice of continued meeting of creditors and appearance of debtor (11
                                        (1 pg)     USC 341(a)) Filed by Trustee Jeffrey I Golden (TR). (Golden (TR),
           04/04/2022                              Jeffrey) (Entered: 04/04/2022)

                                        83         Continuance of Meeting of Creditors (Rule 2003(e)) (Trustee's 341
                                                   Filings) 341(a) Meeting Continued to be held on 4/22/2022 at 03:00
                                                   PM at TR 7, TELEPHONIC MEETING. FOR INSTRUCTIONS
                                                   CONTACT THE TRUSTEE. (Golden (TR), Jeffrey) (Entered:
           04/11/2022                              04/11/2022)

                                        84         Notice of continued meeting of creditors and appearance of debtor (11
                                        (1 pg)     USC 341(a)) Filed by Trustee Jeffrey I Golden (TR). (Golden (TR),
           04/11/2022                              Jeffrey) (Entered: 04/11/2022)

                                        85         Continuance of Meeting of Creditors (Rule 2003(e)) (Trustee's 341
                                                   Filings) 341(a) Meeting Continued to be held on 4/29/2022 at 01:30
                                                   PM at TR 7, TELEPHONIC MEETING. FOR INSTRUCTIONS
                                                   CONTACT THE TRUSTEE. (Golden (TR), Jeffrey) (Entered:
           04/26/2022                              04/26/2022)

                                        86         Notice of continued meeting of creditors and appearance of debtor (11
                                        (1 pg)     USC 341(a)) Filed by Trustee Jeffrey I Golden (TR). (Golden (TR),
           04/26/2022                              Jeffrey) (Entered: 04/26/2022)

                                        87         Request for courtesy Notice of Electronic Filing (NEF) Filed by
           05/02/2022                   (1 pg)     Iskander, Brandon. (Iskander, Brandon) (Entered: 05/02/2022)

                                        88         Request for courtesy Notice of Electronic Filing (NEF) Filed by Goe,
           05/02/2022                   (1 pg)     Robert. (Goe, Robert) (Entered: 05/02/2022)




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CM/ECF - U.S. Bankruptcy Court (NG 1.6.3 - LIVE)                  https://cacb-ecf.sso.dcn/cgi-bin/DktRpt.pl?763101244833226-L_1_0-1
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                                        89          Notice Trustees Notice Of Intent To Abandon Estates Interest In
                                        (6 pgs)     Probate Claims (with Proof of Service) Filed by Trustee Jeffrey I
           05/02/2022                               Golden (TR). (Golden (TR), Jeffrey) (Entered: 05/02/2022)

                                        90          Notice of Assets (no bar date for claims is required) with proof of
                                        (2 pgs)     service Filed by Trustee Jeffrey I Golden (TR). (Golden (TR), Jeffrey)
           05/03/2022                               (Entered: 05/03/2022)

                                        91          Meeting of Creditors Held and Concluded (Chapter 7 Asset) Filed by
                                                    Trustee Jeffrey I Golden (TR) (RE: related document(s) 83
                                                    Continuance of Meeting of Creditors (Rule 2003(e)) (Trustee's 341
                                                    Filings) 341(a) Meeting Continued to be held on 4/22/2022 at 03:00
                                                    PM at TR 7, TELEPHONIC MEETING. FOR INSTRUCTIONS
                                                    CONTACT THE TRUSTEE. (Golden (TR), Jeffrey)). (Golden (TR),
           05/03/2022                               Jeffrey) (Entered: 05/03/2022)

                                        92          Application to Employ Danning, Gill, Israel & Krasnoff, LLP as
                                        (38 pgs)    General Bankruptcy Counsel Chapter 7 Trustees Notice Of Application
                                                    And Application To Employ Danning, Gill, Israel & Krasnoff, LLP As
                                                    General Bankruptcy Counsel Effective As Of January 27, 2022;
                                                    Declaration Of Eric P. Israel; And Statement Of Disinterestedness, with
                                                    Proof of Service Filed by Trustee Jeffrey I Golden (TR) (Israel, Eric)
           05/11/2022                               (Entered: 05/11/2022)

                                        93          Notification of Discrepancy of Conclusion of Whether or Not No Asset
                                        (2 pgs)     Case (Claims Bar Dar Date Should Be Required); Filed by Debtor
                                                    Jamie Lynn Gallian [EDB] (RE: related document(s)90 Notice of
                                                    Assets (no bar date for claims is required) filed by Trustee Jeffrey I
           05/11/2022                               Golden (TR)) (TD8) (Entered: 05/11/2022)

                                        94          Amended Schedule I Individual: Your Income (Official Form 106I) ,
                                        (10 pgs)    Amended Schedule J: Your Expenses (Official Form 106J) , Chapter 7
                                                    Statement of Your Current Monthly Income (Official Form 122A-1)
                                                    (BNC Option) , Declaration About an Individual Debtor's Schedules
                                                    (Official Form 106Dec) Filed by Debtor Jamie Lynn Gallian . [EDB]
           05/12/2022                               (TL) (Entered: 05/12/2022)

                                        95           Objection to Homestead Exemption Notice of Motion and Motion
                                        (259 pgs)    Objecting to Debtor's Claimed Homestead Exemption; Memorandum
                                                     of Points and Authorities; Declaration of D. Edward Hays in Support;
                                                     with Proof of Service [Hrg. 6/2/22 at 10:30 a.m.] Filed by Creditor
                                                     Houser Bros. Co. dba Rancho Del Rey Mobile Home Estates. (Hays,
           05/12/2022                                D) (Entered: 05/12/2022)

                                        96           Notice Supplemental Notice of Hearing to be Held Remotely Using
                                        (4 pgs)      Zoomgov Audio and Video; with Proof of Service Filed by Creditor
                                                     Houser Bros. Co. dba Rancho Del Rey Mobile Home Estates (RE:
                                                     related document(s)95 Objection to Homestead Exemption Notice of
                                                     Motion and Motion Objecting to Debtor's Claimed Homestead
                                                     Exemption; Memorandum of Points and Authorities; Declaration of
                                                     D. Edward Hays in Support; with Proof of Service [Hrg. 6/2/22 at
                                                     10:30 a.m.] Filed by Creditor Houser Bros. Co. dba Rancho Del Rey
           05/12/2022                                Mobile Home Estates.). (Hays, D) (Entered: 05/12/2022)




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CM/ECF - U.S. Bankruptcy Court (NG 1.6.3 - LIVE)                         https://cacb-ecf.sso.dcn/cgi-bin/DktRpt.pl?763101244833226-L_1_0-1
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                                        97                  Declaration of Debtor RE Postpetition Income and Expenses as of the
                                        (31 pgs)            Following Date 05/11/2022 Filed by Debtor Jamie Lynn Gallian .
           05/12/2022                                       [EDB] (TL) . (Entered: 05/13/2022)

                                        99                  Hearing Set (related document # 95 Motion Objecting to Debtor's
                                                            Claimed Homestead Exemption filed by Creditor Houser Bros. Co.
                                                            dba Rancho Del Rey Mobile Home Estates). The Hearing date is set
                                                            for 6/2/2022 at 10:30 AM at Crtrm 5A, 411 W Fourth St., Santa Ana,
                                                            CA 92701. The case judge is Erithe A. Smith (TD8) (Entered:
           05/12/2022                                       05/13/2022)

                                        98                  Statement The Huntington Beach Gables Homeowners Associations
                                        (3 pgs)             Joinder To Houser Bros. Co. dba Rancho Del Rey Mobile Home
                                                            Estates Motion Objecting To Debtors Claimed Homestead Exemption
                                                            with proof of service Filed by Creditor The Huntington Beach Gables
           05/13/2022                                       Homeowners Association. (Goe, Robert) (Entered: 05/13/2022)

                                        100                 Janine Jasso's Joinder to Houser Bros. Co. dba Rancho Del Rey
                                        (2 pgs)             Mobile Home Estates' Motion Objecting to Debtor's Claimed
                                                            Homestead Exemption Filed by Creditor Janine Jasso 'EDB' (RE:
                                                            related document(s)95 Objection to Homestead Exemption filed by
                                                            Creditor Houser Bros. Co. dba Rancho Del Rey Mobile Home
           05/16/2022                                       Estates) (JL) (Entered: 05/16/2022)

                                                            Receipt of Motion Filing Fee - $188.00 by 16. Receipt Number
           05/26/2022                                       80076089. (admin) (Entered: 05/26/2022)

                                        101                 Motion Confirming That No Stay is in effect for Criminal Restitution
                                        (317 pgs; 4 docs)   Case, or, If an Automatic Stay Exists, then for Relief from Stay . Fee
                                                            Amount $188, Filed by Creditor Janine Jasso (Attachments: # 1 2 of 4
                                                            Motion # 2 3 of 4 Motion # 3 4 of 4 Motion) (AM) (Entered:
           05/26/2022                                       05/27/2022)

                                        103                 Notice of motion/application Filed by Creditor Janine Jasso (RE:
                                        (2 pgs)             related document(s)101 Motion Confirming That No Stay is in effect
                                                            for Criminal Restitution Case, or, If an Automatic Stay Exists, then
                                                            for Relief from Stay . Fee Amount $188, Filed by Creditor Janine
                                                            Jasso (Attachments: # 1 2 of 4 Motion # 2 3 of 4 Motion # 3 4 of 4
           05/26/2022                                       Motion) (AM)). (AM) (Entered: 05/27/2022)

                                        102                 Hearing Set (RE: related document(s)101 Motion for Relief - Order
                                                            Confirming Termination of Stay or That no Stay is in Effect filed by
                                                            Creditor Janine Jasso) The Hearing date is set for 6/16/2022 at 10:00
                                                            AM at Crtrm 5A, 411 W Fourth St., Santa Ana, CA 92701. The case
           05/27/2022                                       judge is Erithe A. Smith (AM) (Entered: 05/27/2022)

                                        104                 Supplemental Notice of Hearing To Be Held Remotely Using
                                        (3 pgs)             Zoomgov Audio and Video Filed by Creditor Janine Jasso (RE:
                                                            related document(s)101 Motion Confirming That No Stay is in effect
                                                            for Criminal Restitution Case, or, If an Automatic Stay Exists, then
                                                            for Relief from Stay . Fee Amount $188, Filed by Creditor Janine
                                                            Jasso (Attachments: # 1 2 of 4 Motion # 2 3 of 4 Motion # 3 4 of 4
                                                            Motion) (AM)). The Hearing date is set for 6/16/2022 at 10:00 AM at
           05/27/2022                                       Crtrm 5A, 411 W Fourth St., Santa Ana, CA 92701. The case judge is



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CM/ECF - U.S. Bankruptcy Court (NG 1.6.3 - LIVE)                         https://cacb-ecf.sso.dcn/cgi-bin/DktRpt.pl?763101244833226-L_1_0-1
               Case 8:22-cv-01454-ODW Document 2-1 Filed 08/05/22 Page 15 of 26 Page ID #:71
                                                            Erithe A. Smith [EDB] (AM) (Entered: 05/27/2022)

                                        105                 Debtors Reply Opposition, Memorandum of Points and Authorities to
                                        (361 pgs; 2 docs)   Houser Bros. Co. dba Rancho Del Rey Mobile Home Estates' Motion
                                                            Objecting to Debtor's Claimed Homestead Exemption and Joinder
                                                            Parties Huntington Beach Gables HOA; Janine Jasso (related
                                                            document(s): 95 Objection to Homestead Exemption filed by Creditor
                                                            Houser Bros. Co. dba Rancho Del Rey Mobile Home Estates), Filed
                                                            by Debtor Jamie Lynn Gallian [EDB] (TD8) Additional attachment(s)
           06/01/2022                                       added on 6/1/2022 (TD8). (Entered: 06/01/2022)

                                        106                 Declaration That No Party Requested a Hearing on Motion (LBR
                                        (43 pgs)            9013-1(o)(3)) with Proof of Service Filed by Trustee Jeffrey I Golden
                                                            (TR) (RE: related document(s)92 Application to Employ Danning,
                                                            Gill, Israel & Krasnoff, LLP as General Bankruptcy Counsel Chapter
                                                            7 Trustees Notice Of Application And Application To Employ
                                                            Danning, Gill, Israel & Krasnoff, LLP As General Bankruptcy
                                                            Counsel Effective As Of January 2). (Israel, Eric) (Entered:
           06/01/2022                                       06/01/2022)

                                        107                 Declaration That No Party Requested a Hearing on Motion (LBR
                                        (10 pgs)            9013-1(o)(3)) Declaration that No Party Requested a Hearing on
                                                            Trustees Notice Of Intent To Abandon Estates Interest In Probate
                                                            Claims (with Proof of Service) Filed by Trustee Jeffrey I Golden (TR).
           06/01/2022                                       (Golden (TR), Jeffrey) (Entered: 06/01/2022)

                                        108                 Order Granting Chapter 7 Trustee's Application to Employ Danning,
                                        (2 pgs)             Gill, Israel & Krasnoff, LLP as his General Bankruptcy Counsel [Doc.
                                                            No. 92] (BNC-PDF) (Related Doc # 92) Signed on 6/1/2022. (TD8)
           06/01/2022                                       (Entered: 06/01/2022)

                                        109                 Order Authorizing Trustee's Abandonment of Estate's Interest in
                                        (2 pgs)             Probate Claims (BNC-PDF) (Related Doc # 89 ) Signed on 6/1/2022
           06/01/2022                                       (TD8) (Entered: 06/01/2022)

                                        111                 Opposition to Chapter 7 Trustee's (related document(s): 92
                                        (29 pgs)            Application to Employ Danning, Gill, Israel & Krasnoff, LLP as
                                                            General Bankruptcy Counsel Chapter 7 Trustees Notice Of
                                                            Application And Application To Employ Danning, Gill, Israel &
                                                            Krasnoff, LLP As General Bankruptcy Counsel Effective As Of
                                                            January 2 filed by Trustee Jeffrey I Golden (TR)); Filed by Debtor
                                                            Jamie Lynn Gallian [Request for Hearing] [EDB] (Filed at 9:33 pm)
           06/01/2022                                       (TD8). (Entered: 06/02/2022)

                                        110                 Opposition to (related document(s): 101 Notice of Motion and Motion
                                        (8 pgs)             in Individual Case for Order Confirming Termination of Stay under 11
                                                            U.S.C. 362(j) or That No Stay is in Effect under 11 U.S.C. 362(c)
                                                            (4)(A)(ii). Fee Amount $188, filed by Creditor Janine Jasso)
                                                            -Trustee's Notice of Opposition and Opposition to Motion Confirming
                                                            that No Stay is in Effect for Criminal Restitution Case, or, if an
                                                            Automatic Stay Exists, then for Relief from Stay filed by Creditor
                                                            Janine Jasso; Memorandum of Points and Authorities in Support
                                                            Thereof; proof of service Filed by Trustee Jeffrey I Golden (TR) (DE
           06/02/2022                                       Leest, Aaron) (Entered: 06/02/2022)




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CM/ECF - U.S. Bankruptcy Court (NG 1.6.3 - LIVE)                 https://cacb-ecf.sso.dcn/cgi-bin/DktRpt.pl?763101244833226-L_1_0-1
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                                        112         Debtor's Notice of Opposition and Opposition to Motion Confirming
                                        (39 pgs)    that No Stay is in Effect for Criminal Restitution Case, or, if an
                                                    Automatic Stay Exists, Then for Relief from Stay filed by Interested
                                                    Party Janine Jasso (related document(s): 101 Notice of Motion and
                                                    Motion in Individual Case for Order Confirming Termination of Stay
                                                    under 11 U.S.C. 362(j) or That No Stay is in Effect under 11 U.S.C.
                                                    362(c)(4)(A)(ii). Fee Amount $188, filed by Creditor Janine Jasso)
           06/02/2022                               Filed by Debtor Jamie Lynn Gallian 'EDB' (JL) (Entered: 06/03/2022)

                                        113         Hearing Rescheduled/Continued (related document # 95 Creditor
                                                    Houser Bros. Co. dba Rancho Del Rey Mobile Home Estates Motion
                                                    Objecting to Debtor's Claimed Homestead Exemption). The Hearing
                                                    is CONTINUED TO 7/21/2022 at 10:30 AM at Crtrm 5A, 411 W
                                                    Fourth St., Santa Ana, CA 92701 to allow Movant/Joining Parties to
                                                    file a reply to Debtor's late opposition filed on June 1, 2022, which
                                                    reply(ies) must be filed by July 7, 2022. No other pleadings may be
           06/02/2022                               filed. The case judge is Erithe A. Smith (TD8) (Entered: 06/03/2022)

                                        114         BNC Certificate of Notice - PDF Document. (RE: related
                                        (4 pgs)     document(s)108 Order on Application to Employ (BNC-PDF)) No. of
           06/03/2022                               Notices: 0. Notice Date 06/03/2022. (Admin.) (Entered: 06/03/2022)

                                        116         Amended Motion Confirming That No Stay is in effect for Criminal
                                        (322 pgs)   Restitution Case, or, If an Automatic Stay Exists, then for Relief from
                                                    Stay (Updated Proof of Service) 'EDB' (related document(s): 101
                                                    Notice of Motion and Motion in Individual Case for Order
                                                    Confirming Termination of Stay under 11 U.S.C. 362(j) or That No
                                                    Stay is in Effect under 11 U.S.C. 362(c)(4)(A)(ii). Fee Amount $188,
                                                    filed by Creditor Janine Jasso) Filed by Creditor Janine Jasso (JL)
           06/03/2022                               (Entered: 06/06/2022)

                                        117         Amended Supplemental Notice of Hearing To Be Held Remotely
                                        (8 pgs)     Using Zoomgov Audio and Video Filed by Creditor Janine Jasso
                                                    (Updated Proof of Service) 'EDB' (RE: related document(s)104)
           06/03/2022                               (Filed by Creditor Janine Jasso . (JL) (Entered: 06/06/2022)

                                        115         BNC Certificate of Notice - PDF Document. (RE: related
                                        (4 pgs)     document(s)109 Order on Motion to Abandon (BNC-PDF)) No. of
           06/04/2022                               Notices: 0. Notice Date 06/04/2022. (Admin.) (Entered: 06/04/2022)

                                        118         Reply to Trustee's and Debtor's Opposition to Motion Confirming that
                                        (23 pgs)    No Stay is in Effect for Criminal Restitution Case, or, if an Automatic
                                                    Stay Exists, Then for Relief From Stay (related document(s): 110
                                                    Opposition filed by Trustee Jeffrey I Golden (TR), 112 Opposition
                                                    filed by Debtor Jamie Lynn Gallian) Filed by Creditor Janine Jasso
                                                    'EDB' (JL) NOTE: Filed with incorrect caption and lists adversary
                                                    number; this document belongs in the main bankruptcy case 8:21-
           06/09/2022                               bk-11710-ES. Modified on 6/10/2022 (TD8). (Entered: 06/09/2022)

                                        119         Notice of lodgment Filed by Creditor Houser Bros. Co. dba Rancho
                                        (9 pgs)     Del Rey Mobile Home Estates (RE: related document(s)95 Objection
                                                    to Homestead Exemption Notice of Motion and Motion Objecting to
                                                    Debtor's Claimed Homestead Exemption; Memorandum of Points and
           06/09/2022                               Authorities; Declaration of D. Edward Hays in Support; with Proof of



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                                                   Service [Hrg. 6/2/22 at 10:30 a.m.] Filed by Creditor Houser Bros.
                                                   Co. dba Rancho Del Rey Mobile Home Estates.). (Hays, D) (Entered:
                                                   06/09/2022)

                                        120        Amended Notice of lodgment, Filed by Debtor Jamie Lynn Gallian
                                        (8 pgs)    [EDB] (RE: related document(s)95 Objection to Homestead
           06/10/2022                              Exemption). (TD8) (Entered: 06/10/2022)

                                        121        Notice of Lodgment Filed by Debtor Jamie Lynn Gallian 'EDB' (RE:
                                        (8 pgs)    related document(s)95 Objection to Homestead Exemption). (JL)
           06/10/2022                              (Entered: 06/13/2022)

                                        123        Hearing Held (RE: related document(s)101 Motion for Relief - Order
                                                   Confirming Termination of Stay or That no Stay is in Effect filed by
                                                   Creditor Janine Jasso) Motion Denied Without Prejudice. (JL)
           06/16/2022                              (Entered: 06/22/2022)

                                        122        Notice of lodgment, Filed by Creditor Janine Jasso [EDB] (RE:
                                        (8 pgs)    related document(s)101 Notice of Motion and Motion in Individual
                                                   Case for Order Confirming Termination of Stay under 11 U.S.C.
                                                   362(j) or That No Stay is in Effect under 11 U.S.C. 362(c)(4)(A)(ii).
           06/17/2022                              Fee Amount $188,). (TD8). (Entered: 06/21/2022)

                                        124        Order Continuing Hearing on Motion Objecting to Debtor's Claimed
                                        (5 pgs)    Homestead Exemption. IT IS ORDERED that: The Hearing on the
                                                   Motion is CONTINUED TO July 21, 2022, at 10:30 a.m. to Allow
                                                   Houser Bros and/or the Joining Parties to File a Reply/Replies to
                                                   Debtor's Late Opposition filed on June 1, 2022 (See Order for Further
                                                   Ruling) (BNC-PDF) (Related Doc # 95 ) Signed on 6/23/2022 (TD8)
           06/23/2022                              (Entered: 06/23/2022)

                                        125        BNC Certificate of Notice - PDF Document. (RE: related
                                        (7 pgs)    document(s)124 Order on Generic Motion (BNC-PDF)) No. of
           06/25/2022                              Notices: 0. Notice Date 06/25/2022. (Admin.) (Entered: 06/25/2022)

                                        126        Order Denying Motion for Relief from the Automatic Stay Under 11
                                        (2 pgs)    U.S.C. Section 362 (BNC-PDF) Signed on 6/27/2022 (RE: related
                                                   document(s)101 Motion for Relief - Order Confirming Termination of
                                                   Stay or That no Stay is in Effect filed by Creditor Janine Jasso). (TD8)
           06/27/2022                              (Entered: 06/27/2022)

                                        127        BNC Certificate of Notice - PDF Document. (RE: related
                                        (4 pgs)    document(s)126 Order (Generic) (BNC-PDF)) No. of Notices: 0.
           06/29/2022                              Notice Date 06/29/2022. (Admin.) (Entered: 06/29/2022)

                                        128        Statement -Trustee's Joinder in Houser Bros. Co. dba Rancho Del Rey
                                        (4 pgs)    Mobile Home Estates' Motion Objecting to Debtor's Claimed
                                                   Homestead Exemption; proof of service 95 Filed by Trustee Jeffrey I
           06/30/2022                              Golden (TR). (DE Leest, Aaron) (Entered: 06/30/2022)

                                        129        Reply to (related document(s): 105 Reply filed by Debtor Jamie Lynn
                                        (5 pgs)    Gallian) The Huntington Beach Gables Homeowners Association's
                                                   Reply to Debtor's Opposition to Motion Objecting to Debtor's
           07/07/2022                              Claimed Homestead Exemption with Proof of Service Filed by



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               Case 8:22-cv-01454-ODW Document 2-1 Filed 08/05/22 Page 18 of 26 Page ID #:74
                                                            Creditor The Huntington Beach Gables Homeowners Association
                                                            (Goe, Robert) (Entered: 07/07/2022)

                                        130                 Reply to (related document(s): 105 Reply filed by Debtor Jamie Lynn
                                        (96 pgs)            Gallian) Reply to Debtor's Opposition to Motion Objecting to Claimed
                                                            Homestead Exemption; Declaration of D. Edward Hays in Support;
                                                            with Proof of Service Filed by Creditor Houser Bros. Co. dba Rancho
           07/07/2022                                       Del Rey Mobile Home Estates (Hays, D) (Entered: 07/07/2022)

                                        131                 Declaration re: Declaration of Vivienne J. Alston re: Motion Objecting
                                        (4 pgs)             to Debtor's Claimed Homestead Exemption; with Proof of Service
                                                            Filed by Creditor Houser Bros. Co. dba Rancho Del Rey Mobile
                                                            Home Estates (RE: related document(s)130 Reply). (Hays, D)
           07/07/2022                                       (Entered: 07/07/2022)

                                        132                 Declaration re: Declaration of Greg Buysman re: Motion Objecting to
                                        (62 pgs)            Debtor's Claimed Homestead Exemption; with Proof of Service Filed
                                                            by Creditor Houser Bros. Co. dba Rancho Del Rey Mobile Home
                                                            Estates (RE: related document(s)130 Reply). (Hays, D) (Entered:
           07/07/2022                                       07/07/2022)

                                        133                 Declaration re: Declaration of Chris Houser re: Motion Objecting to
                                        (4 pgs)             Debtor's Claimed Homestead Exemption; with Proof of Service Filed
                                                            by Creditor Houser Bros. Co. dba Rancho Del Rey Mobile Home
                                                            Estates (RE: related document(s)130 Reply). (Hays, D) (Entered:
           07/07/2022                                       07/07/2022)

                                        134                 Reply to Greg Buysman, CA Notary Public Commission Number
                                        (13 pgs)            2341449; Owner & Operator the UPS Store, Edinger/Springdage
                                                            (related document(s): 95 Objection to Homestead Exemption filed by
                                                            Creditor Houser Bros. Co. dba Rancho Del Rey Mobile Home
                                                            Estates) Filed by Debtor Jamie Lynn Gallian [EDB] (AM) (Entered:
           07/08/2022                                       07/08/2022)

                                        135                 Motion to Avoid Lien (Real Property) with The Huntington Beach
                                        (224 pgs; 6 docs)   Gables Homeowners Association Filed by Debtor Jamie Lynn Gallian
                                                            [EDB] (Attachments: # 1 Part 2 # 2 Part 3 # 3 Part 4) (AM) Modified
                                                            on 7/8/2022 (AM). Additional attachment(s) added on 7/8/2022 (TL).
           07/08/2022                                       (Entered: 07/08/2022)

                                        136                 Notice of Opportunity to Request a Hearing On Motion Filed by
                                        (228 pgs; 7 docs)   Debtor Jamie Lynn Gallian . [EDB] (AM) Modified on 7/8/2022
                                                            (AM) (RE: related document(s)135 Motion to Avoid Lien Property
                                                            Lien with The Huntington Beach Gables Homeowners Association).
                                                            Additional attachment(s) added on 7/11/2022 (TL). Modified on
           07/08/2022                                       7/11/2022 (TL). (Entered: 07/08/2022)

                                        137                 Motion to Avoid Lien Real Property with The Huntington Beach
                                                            Gables Homeowners Association Filed by Debtor Jamie Lynn Gallian
                                                            (Attachments: # 1 Part 2 # 2 Part 3 # 3 Part 4 # 4 Part 5 # 5 Part 6)
                                                            [EDB] (AM) Modified on 7/8/2022 (AM). Docketed in error. Motion
                                                            terminated. See docket entry 135 for correct Motion. Modified on
           07/08/2022                                       7/11/2022 (TL). (Entered: 07/08/2022)




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CM/ECF - U.S. Bankruptcy Court (NG 1.6.3 - LIVE)                https://cacb-ecf.sso.dcn/cgi-bin/DktRpt.pl?763101244833226-L_1_0-1
               Case 8:22-cv-01454-ODW Document 2-1 Filed 08/05/22 Page 19 of 26 Page ID #:75

                                        138        Notice of Lodgment of Excerpts of Certified Transcript in Support of
                                        (20 pgs)   Reply to Debtor's Opposition to Motion Objecting to Claimed
                                                   Homestead Exemption; with Proof of Service Filed by Creditor
                                                   Houser Bros. Co. dba Rancho Del Rey Mobile Home Estates (RE:
                                                   related document(s)130 Reply to (related document(s): 105 Reply
                                                   filed by Debtor Jamie Lynn Gallian) Reply to Debtor's Opposition to
                                                   Motion Objecting to Claimed Homestead Exemption; Declaration of
                                                   D. Edward Hays in Support; with Proof of Service Filed by Creditor
                                                   Houser Bros. Co. dba Rancho Del Rey Mobile Home Estates). (Hays,
           07/20/2022                              D) (Entered: 07/20/2022)

                                        139        Notice of Lodgment of Orange County Tax Assessors Proof of
                                        (6 pgs)    Debtors Homestead Exemption Effective 2/25/2021 in Support of
                                                   Opposition to Motion Objecting to Claimed Homestead Exemption,
                                                   Filed by Debtor Jamie Lynn Gallian [EDB] (RE: related
                                                   document(s)95 Objection to Homestead Exemption). (TD8) (Entered:
           07/21/2022                              07/21/2022)

                                        140        Amended Notice of Lodgment of Orange County Tax Assessors Proof
                                        (33 pgs)   of Debtors Homestead Exemption Effective 2/25/2021 in Support of
                                                   Opposition to Motion Objecting to Claimed Homestead Exemption
                                                   Filed by Debtor Jamie Lynn Gallian 'EDB' (RE: related
                                                   document(s)130 Reply to (related document(s): 105 Reply filed by
                                                   Debtor Jamie Lynn Gallian) Reply to Debtor's Opposition to Motion
                                                   Objecting to Claimed Homestead Exemption; Declaration of D.
                                                   Edward Hays in Support; with Proof of Service Filed by Creditor
                                                   Houser Bros. Co. dba Rancho Del Rey Mobile Home Estates, 139
                                                   Notice of Lodgment of Orange County Tax Assessors Proof of
                                                   Debtors Homestead Exemption Effective 2/25/2021 in Support of
                                                   Opposition to Motion Objecting to Claimed Homestead Exemption,
                                                   Filed by Debtor Jamie Lynn Gallian [EDB] (RE: related
                                                   document(s)95 Objection to Homestead Exemption). (TD8)). (JL)
           07/21/2022                              (Entered: 07/21/2022)

                                        143        Notice of Appeal and Statement of Election to Bankruptcy Appellate
                                        (6 pgs)    Panel.(Official Form 417A) . Fee Amount $298 NOT PAID Filed by
                                                   Debtor Jamie Lynn Gallian . Appellant Designation due by 8/4/2022.
           07/21/2022                              (NB8) (Entered: 07/22/2022)

                                        153        Hearing Held (related document # 95 Creditor Houser Bros. Co. dba
                                                   Rancho Del Rey Mobile Home Estates Motion Objecting to Debtor's
                                                   Claimed Homestead Exemption) - Motion Granted objecting to
           07/21/2022                              Debtor's homestead exemption claim. (TD8) (Entered: 07/25/2022)

                                        141        Opposition to (related document(s): 135 Motion to Avoid Lien
                                        (63 pgs)   Property Lien with The Huntington Beach Gables Homeowners
                                                   Association filed by Debtor Jamie Lynn Gallian, 136 Notice of
                                                   motion/application filed by Debtor Jamie Lynn Gallian, 137 Motion to
                                                   Avoid Lien Real Property with The Huntington Beach Gables
                                                   Homeowners Association filed by Debtor Jamie Lynn Gallian)
                                                   Omnibus Opposition to Debtor's Notice of Motion and Motion to
                                                   Avoid Lien Under 11 U.S.C. § 522(f) and Request for Hearing;
                                                   Declaration of Robert P. Goe in Support Thereof; Notice of
                                                   Opposition and Request for a Hearing with Proof of Service Filed by
           07/22/2022                              Creditor The Huntington Beach Gables Homeowners Association



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CM/ECF - U.S. Bankruptcy Court (NG 1.6.3 - LIVE)                         https://cacb-ecf.sso.dcn/cgi-bin/DktRpt.pl?763101244833226-L_1_0-1
               Case 8:22-cv-01454-ODW Document 2-1 Filed 08/05/22 Page 20 of 26 Page ID #:76
                                                            (Goe, Robert) (Entered: 07/22/2022)

                                        142                 Notice of Assets filed by trustee and court's notice of possible
                                        (3 pgs; 2 docs)     dividend (BNC) with proof of service Filed by Trustee Jeffrey I
                                                            Golden (TR). Proofs of Claims due by 10/25/2022. Government Proof
                                                            of Claim due by 1/5/2022. (Golden (TR), Jeffrey) (Entered:
           07/22/2022                                       07/22/2022)

                                        144                 Deficiency letter to Appellant: Appeal Is Deficient For the Following
                                        (1 pg)              Reasons: $298.00 Filing Fee For Appeal Was Not Paid; Does Not
                                                            Include The Entered Date Of Order, Judgment, Or Decree; Does Not
                                                            Include Entered Stamped Copy Of Order, Judgment, Or Decree; Does
                                                            Not Include the Telephone Number(s) Of The Opposing Parties (RE:
                                                            related document(s)143 Notice of Appeal and Statement of Election
                                                            (Official Form 417A) filed by Debtor Jamie Lynn Gallian) (NB8)
           07/22/2022                                       (Entered: 07/22/2022)

                                        145                 Request for a Certified Copy Fee Amount $11. The document will be
                                                            sent via email to :gestrada@wgllp.com: Filed by Trustee Jeffrey I
                                                            Golden (TR) (RE: related document(s)1 Voluntary Petition (Chapter
           07/22/2022                                       7)). (Golden (TR), Jeffrey) (Entered: 07/22/2022)

                                                            Receipt of Request for a Certified Copy( 8:21-bk-11710-ES)
                                                            [misc,paycert] ( 11.00) Filing Fee. Receipt number AXXXXXXXX. Fee
           07/22/2022                                       amount 11.00. (re: Doc# 145 ) (U.S. Treasury) (Entered: 07/22/2022)

                                        146                 Transcript Order Form related to an Appeal, regarding Hearing Date
                                        (1 pg)              07/21/2022 at 10:30 a.m. Filed by Debtor Jamie Lynn Gallian [EDB]
                                                            (RE: related document(s)95 Objection to Homestead Exemption).
           07/22/2022                                       (TD8) (Entered: 07/22/2022)

                                        147                 Amended Motion (related document(s): 135 Motion to Avoid Lien
                                        (269 pgs; 2 docs)   Property Lien with The Huntington Beach Gables Homeowners
                                                            Association filed by Debtor Jamie Lynn Gallian) Filed by Debtor
                                                            Jamie Lynn Gallian [EDB] (Attachments: # 1 Part 2) (TD8) (Entered:
           07/22/2022                                       07/22/2022)

                                        148                 Notice of Opportunity To Request a Hearing On Motion (LBR
                                        (273 pgs; 3 docs)   9013-1(o)) Filed by Debtor Jamie Lynn Gallian [EDB] (RE: related
                                                            document(s)135 Motion to Avoid Lien (Real Property) with The
                                                            Huntington Beach Gables Homeowners Association Filed by Debtor
                                                            Jamie Lynn Gallian [EDB] (Attachments: # 1 Part 2 # 2 Part 3 # 3 Part
                                                            4) (AM) Modified on 7/8/2022 (AM). Additional attachment(s) added
                                                            on 7/8/2022 (TL)., 147 Amended Motion (related document(s): 135
                                                            Motion to Avoid Lien Property Lien with The Huntington Beach
                                                            Gables Homeowners Association filed by Debtor Jamie Lynn Gallian)
                                                            Filed by Debtor Jamie Lynn Gallian [EDB] (Attachments: # 1 Part 2)
                                                            (TD8)). (Attachments: # 1 Part 2 - Amended Motion # 2 Part 3 -
           07/22/2022                                       Declaration) (TD8) (Entered: 07/22/2022)

                                        149                 Certified Copy Emailed to gestrada@wgllp.com (Entered:
           07/22/2022                                       07/22/2022)




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                                        150        Notice of lodgment Filed by Creditor Houser Bros. Co. dba Rancho
                                        (16 pgs)   Del Rey Mobile Home Estates (RE: related document(s)95 Objection
                                                   to Homestead Exemption Notice of Motion and Motion Objecting to
                                                   Debtor's Claimed Homestead Exemption; Memorandum of Points and
                                                   Authorities; Declaration of D. Edward Hays in Support; with Proof of
                                                   Service [Hrg. 6/2/22 at 10:30 a.m.] Filed by Creditor Houser Bros.
                                                   Co. dba Rancho Del Rey Mobile Home Estates.). (Hays, D) (Entered:
           07/22/2022                              07/22/2022)

                                        151        BNC Certificate of Notice (RE: related document(s)142 Notice of
                                        (5 pgs)    Assets filed by trustee and court's notice of possible dividend (BNC)
                                                   filed by Trustee Jeffrey I Golden (TR)) No. of Notices: 75. Notice
           07/24/2022                              Date 07/24/2022. (Admin.) (Entered: 07/24/2022)

                                        152        Transcript Record Transmittal (Court transcript records have been
                                                   uploaded to FDS). For Order Number: 22-ES-22. RE Hearing Date:
                                                   07/21/22, [TRANSCRIPTION SERVICE PROVIDER: ECHO
                                                   REPORTING, INC., Telephone number Ph: (858) 453-7590.] (RE:
                                                   related document(s)146 Transcript Order Form (Public Request) filed
           07/25/2022                              by Debtor Jamie Lynn Gallian) (JL) (Entered: 07/25/2022)

                                        154        Opposition to (related document(s): 135 Motion to Avoid Lien
                                        (61 pgs)   Property Lien with The Huntington Beach Gables Homeowners
                                                   Association filed by Debtor Jamie Lynn Gallian, 136 Notice of
                                                   motion/application filed by Debtor Jamie Lynn Gallian, 137 Motion to
                                                   Avoid Lien Real Property with The Huntington Beach Gables
                                                   Homeowners Association filed by Debtor Jamie Lynn Gallian) 141
                                                   Amended Omnibus Opposition to Debtor's Notice of Motion and
                                                   Motion to Avoid Lien Under 11 U.S.C. § 522(f) and Request for
                                                   Hearing; Declaration of Robert P. Goe in Support Thereof with Proof
                                                   of Service Filed by Creditor The Huntington Beach Gables
           07/25/2022                              Homeowners Association (Iskander, Brandon) (Entered: 07/25/2022)

                                        155        Opposition to (related document(s): 135 Motion to Avoid Lien
                                        (63 pgs)   Property Lien with The Huntington Beach Gables Homeowners
                                                   Association filed by Debtor Jamie Lynn Gallian, 136 Notice of
                                                   motion/application filed by Debtor Jamie Lynn Gallian, 137 Motion to
                                                   Avoid Lien Real Property with The Huntington Beach Gables
                                                   Homeowners Association filed by Debtor Jamie Lynn Gallian)
                                                   141[154 filer error] Amended Omnibus Opposition to Debtor's Notice
                                                   of Motion and Motion to Avoid Lien Under 11 U.S.C. § 522(f) and
                                                   Request for Hearing; Declaration of Robert P. Goe in Support
                                                   Thereof; Notice of Opposition and Request for a Hearing with Proof
                                                   of Service Filed by Creditor The Huntington Beach Gables
           07/25/2022                              Homeowners Association (Goe, Robert) (Entered: 07/25/2022)

                                        156        Notice of lodgment (Amended) Notice of Lodgment Filed by Creditor
                                        (16 pgs)   Houser Bros. Co. dba Rancho Del Rey Mobile Home Estates (RE:
                                                   related document(s)150 Notice of lodgment Filed by Creditor Houser
                                                   Bros. Co. dba Rancho Del Rey Mobile Home Estates (RE: related
                                                   document(s)95 Objection to Homestead Exemption Notice of Motion
                                                   and Motion Objecting to Debtor's Claimed Homestead Exemption;
                                                   Memorandum of Points and Authorities; Declaration of D. Edward
                                                   Hays in Support; with Proof of Service [Hrg. 6/2/22 at 10:30 a.m.]
           07/26/2022                              Filed by Creditor Houser Bros. Co. dba Rancho Del Rey Mobile



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CM/ECF - U.S. Bankruptcy Court (NG 1.6.3 - LIVE)                         https://cacb-ecf.sso.dcn/cgi-bin/DktRpt.pl?763101244833226-L_1_0-1
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                                                            Home Estates.).). (Hays, D) (Entered: 07/26/2022)

                                        157                 Debtor's Notice of and Motion for Reconsideration of 7.21.22 Order
                                        (332 pgs; 2 docs)   Sustaining Houser Bros. Co. DBA Rancho Del Rey Mobile Home
                                                            Estates Objection to Debtor's Claimed Homestead Exemption and
                                                            Joinder Parties Huntington Beach Gables HOA; Janine Jasso. Filed by
                                                            Debtor Jamie Lynn Gallian (Attachments: # 1 Part 2) 'EDB' (RE:
           07/26/2022                                       related document(s)95) (JL) (Entered: 07/26/2022)

                                        158                 Supplemental Notice of Hearing to be Held Remotely Using
                                        (4 pgs)             ZOOMGOV Audio and Video Filed by Debtor Jamie Lynn Gallian
                                                            'EDB' (RE: related document(s)157 Debtor's Notice of and Motion for
                                                            Reconsideration of 7.21.22 Order Sustaining Houser Bros. Co. DBA
                                                            Rancho Del Rey Mobile Home Estates Objection to Debtor's Claimed
                                                            Homestead Exemption and Joinder Parties Huntington Beach Gables
                                                            HOA; Janine Jasso. Filed by Debtor Jamie Lynn Gallian
                                                            (Attachments: # 1 Part 2) 'EDB' (RE: related document(s)95) (JL)).
           07/26/2022                                       (JL) (Entered: 07/26/2022)

                                        159                 Hearing Set (RE: related document(s)157 Motion to Reconsider filed
                                                            by Debtor Jamie Lynn Gallian) The Hearing date is set for 8/18/2022
                                                            at 10:30 AM at Crtrm 5A, 411 W Fourth St., Santa Ana, CA 92701.
           07/26/2022                                       The case judge is Erithe A. Smith (JL) (Entered: 07/26/2022)

                                        160                 Trustee Certification of Services Rendered Under 11 U.S.C. Section
                                                            330(e). I rendered the following service in the case and am eligible for
                                                            payment under 11 U.S.C. Section 330(e): Filed a Notice of Assets. I
                                                            declare under penalty of perjury that the foregoing is true and correct.
                                                            (Executed on 7/28/2022). Filed by Trustee Jeffrey I Golden (TR) (RE:
                                                            related document(s)90 Notice of Assets (no bar date for claims is
                                                            required) with proof of service Filed by Trustee Jeffrey I Golden (TR).
                                                            (Golden (TR), Jeffrey) filed by Trustee Jeffrey I Golden (TR)).
           07/28/2022                                       (Golden (TR), Jeffrey) (Entered: 07/28/2022)

                                        161                 Notice Of Appeal And Statement of Election To Bankruptcy
                                        (12 pgs)            Appellate Panel.(Official Form 417A) . Fee Amount $298 NOT PAID
                                                            Filed by Debtor Jamie Lynn Gallian. Appellant Designation due by
                                                            8/11/2022. - [EDB] - APPEAL FEE OF $298 PAID 7/29/2022 -
                                                            RECEIPT NO. 80076183 (NB8) Modified on 7/29/2022 (NB8).
           07/28/2022                                       (Entered: 07/28/2022)

                                        162                 Application to Employ Coldwell Banker Realty as Real Estate Broker
                                        (25 pgs)            Application Of The Chapter 7 Trustee To Employ Real Estate Broker
                                                            Coldwell Banker Realty And Agents William Friedman And Greg
                                                            Bingham Pursuant To 11 U.S.C. §§ 327 And 328; Memorandum Of
                                                            Points And Authorities; And Declarations Of William Friedman And
                                                            Greg Bingham In Support (with Proof of Service) Filed by Trustee
                                                            Jeffrey I Golden (TR) (Golden (TR), Jeffrey) - WARNING: See
                                                            docket entry no. 166 for corrections - Modified on 7/29/2022 (TD8).
           07/28/2022                                       (Entered: 07/28/2022)

                                        163                 Notice of Hearing Application Of The Chapter 7 Trustee To Employ
                                        (5 pgs)             Real Estate Broker Coldwell Banker Realty And Agents William
                                                            Friedman And Greg Bingham Pursuant To 11 U.S.C. §§ 327 And 328;
           07/28/2022                                       Memorandum Of Points And Authorities; And Declarations Of



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                                                   William Friedman And Greg Bingham In Support (with Proof of
                                                   Service) Filed by Trustee Jeffrey I Golden (TR) (RE: related
                                                   document(s)162 Application to Employ Coldwell Banker Realty as
                                                   Real Estate Broker Application Of The Chapter 7 Trustee To Employ
                                                   Real Estate Broker Coldwell Banker Realty And Agents William
                                                   Friedman And Greg Bingham Pursuant To 11 U.S.C. §§ 327 And 328;
                                                   Memorandum Of Points And Authorities; And Declarations Of
                                                   William Friedman And Greg Bingham In Support (with Proof of
                                                   Service) Filed by Trustee Jeffrey I Golden (TR) (Golden (TR),
                                                   Jeffrey)). (Golden (TR), Jeffrey) - WARNING: See docket entry no.
                                                   166 for corrections - Modified on 7/29/2022 (TD8). (Entered:
                                                   07/28/2022)

                                        164        Supplemental Supplemental Notice Of Hearing To Be Held Remotely
                                        (4 pgs)    Using Zoomgov Audio And Video (with Proof of Service) Filed by
                                                   Trustee Jeffrey I Golden (TR). (Golden (TR), Jeffrey) - WARNING:
                                                   See docket entry no. 166 for corrections - Modified on 7/29/2022
           07/28/2022                              (TD8). (Entered: 07/28/2022)

                                        165        Deficiency letter to Appellant: Appeal Is Deficient For the Following
                                        (1 pg)     Reasons: $298.00 Filing Fee For Appeal Was Not Paid And Does Not
                                                   Include Entered Stamped Copy Of Order, Judgment, Or Decree (RE:
                                                   related document(s)161 Notice of Appeal and Statement of Election
                                                   (Official Form 417A) filed by Debtor Jamie Lynn Gallian) (NB8)
           07/28/2022                              (Entered: 07/28/2022)

                                                   Receipt of Appeal Late Filing Fee - $0.00 by 12. Receipt Number
           07/28/2022                              80076180. (admin) (Entered: 07/28/2022)

                                                   Receipt of Appeal Late Noticing Filing Fee - $0.00 by 12. Receipt
           07/28/2022                              Number 80076180. (admin) (Entered: 07/28/2022)

                                        166        Notice to Filer of Error and/or Deficient Document Hearing
                                                   date/time selected is no longer available. THE FILER IS
                                                   INSTRUCTED TO CONTACT JUDGE SMITH'S
                                                   COURTROOM DEPUTY FOR AN AVAILABLE HEARING
                                                   DATE/TIME AND SUBSEQUENTLY FILE AN AMENDED
                                                   NOTICE OF MOTION/HEARING WITH THE CORRECT
                                                   HEARING INFORMATION. (RE: related document(s)162
                                                   Application to Employ filed by Trustee Jeffrey I Golden (TR), 163
                                                   Notice of Hearing (BK Case) filed by Trustee Jeffrey I Golden (TR),
                                                   164 Supplemental filed by Trustee Jeffrey I Golden (TR)) (TD8)
           07/29/2022                              (Entered: 07/29/2022)

                                                   Receipt of Appeal Late Noticing Filing Fee - $5.00 by 16. Receipt
           07/29/2022                              Number 80076183. (admin) (Entered: 07/29/2022)

                                                   Receipt of Appeal Late Filing Fee - $293.00 by 16. Receipt Number
           07/29/2022                              80076183. (admin) (Entered: 07/29/2022)




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                                        167                 Notice of Motion Motion For Leave From The Bankruptcy Appeal
                                        (160 pgs; 2 docs)   Panel To Permit The Bankruptcy Court To Consider Debtor's Motion
                                                            For Re-Consideration [Doc 157] On August 18, 2022 Filed by Debtor
                                                            Jamie Lynn Gallian (Attachments: # 1 Motion For Reconsideration)
           08/01/2022                                       (GD) [EDB] Modified on 8/1/2022 (GD). (Entered: 08/01/2022)

                                        168                 Optional Appellee Statement of Election to Proceed in U.S. District
                                        (4 pgs)             Court (Official Form 417B) Filed by Creditor Houser Bros. Co. dba
                                                            Rancho Del Rey Mobile Home Estates (RE: related document(s)143
                                                            Notice of Appeal and Statement of Election (Official Form 417A),
                                                            161 Notice of Appeal and Statement of Election (Official Form
           08/02/2022                                       417A)). (Masud, Laila) (Entered: 08/02/2022)

                                        169                 Notice Of Appeal And Statement Of Election To Bankruptcy
                                        (4 pgs)             Appellate Panel (Official Form 417A) . Fee Amount $298 NOT PAID
                                                            Filed by Debtor Jamie Lynn Gallian . Appellant Designation due by
           08/04/2022                                       8/18/2022. [EDB] (NB8) (Entered: 08/04/2022)

                                        170                 Response to (related document(s): 157 Motion to Reconsider filed by
                                        (58 pgs)            Debtor Jamie Lynn Gallian) Response to Debtor's Notice of and
                                                            Motion for Reconsideration of 7-21-22 Order Sustaining Houser Bros.
                                                            Co. dba Rancho Del Rey Mobile Home Estates Objection to Debtor's
                                                            Claimed Homestead Exemption; Declaration of D. Edward Hays in
                                                            Support; with Proof of Service Filed by Creditor Houser Bros. Co. dba
                                                            Rancho Del Rey Mobile Home Estates (Hays, D) (Entered:
           08/04/2022                                       08/04/2022)

                                        171                 Statement - Trustee's Joinder in Houser Bros. Co. dba Rancho Del
                                        (4 pgs)             Rey Mobile Home Estates' Response to Debtor's Notice of and Motion
                                                            for Reconsideration of 7.21.22 Order Sustaining Houser Bros. Co.
                                                            dba Rancho Del Rey Mobile Home Estate's Objection to Debtor's
                                                            Claimed Homestead Exemption; proof of service Filed by Trustee
           08/04/2022                                       Jeffrey I Golden (TR). (DE Leest, Aaron) (Entered: 08/04/2022)

                                        172                 Substitution of attorney , Proof of service Filed by Debtor Jamie Lynn
           08/04/2022                   (4 pgs)             Gallian. (Briones, Bert) (Entered: 08/04/2022)

                                        173                 Statement The Huntington Beach Gables Homeowners Association's
                                        (4 pgs)             Joinder to House Bros. Co. dba Rancho del Rey Mobile Home Estates'
                                                            Response to Debtor's Motion for Reconsideration with Proof of
                                                            Service Filed by Creditor The Huntington Beach Gables Homeowners
                                                            Association. (Goe, Robert). Related document(s) 157 Motion to
                                                            Reconsider filed by Debtor Jamie Lynn Gallian. Modified on 8/5/2022
           08/04/2022                                       (JL). (Entered: 08/04/2022)

                                        174                 Deficiency letter to Appellant: Appeal Is Deficient For the Following
                                        (1 pg)              Reasons: $298.00 Filing Fee For Appeal Was Not Paid; The Notice Of
                                                            Appeal Does Not Conform Substantially With The Notice Of Appeal
                                                            And Statement Of Election (Official Form 417A: Does Not Include
                                                            The Title Of Order, Judgment, Or Decree; Does Not Include The
                                                            Entered Date Of Order, Judgment, Or Decree; Does Not Include
                                                            Entered Stamped Copy Of Order, Judgment, Or Decree; related
                                                            document(s)169 Notice of Appeal and Statement of Election; (RE: al
           08/04/2022                                       Form 417A) filed by Debtor Jamie Lynn Gallian) (NB8) (Entered:



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CM/ECF - U.S. Bankruptcy Court (NG 1.6.3 - LIVE)                          https://cacb-ecf.sso.dcn/cgi-bin/DktRpt.pl?763101244833226-L_1_0-1
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                                                            08/04/2022)

                                        175                 Notice Of Referral Of Appeal To United States Bankruptcy Appellate
                                        (185 pgs; 6 docs)   Panel Of The Ninth Circuit (BAP) with certificate of mailing (RE:
                                                            related document(s)161 Notice of Appeal and Statement of Election
                                                            (Official Form 417A) filed by Debtor Jamie Lynn Gallian)
                                                            (Attachments: # 1 Notice of Appeal and Statement of Election # 2
                                                            Notice of Motion and Motion for Leave From the Bankruptcy
                                                            Appellate Panel to Permit the Bankruptcy Court to Consider Debtor's
                                                            Motion for Re-consideration (Doc 157) on August 18, 2022 # 3
                                                            Notice of Transcript(s) Designated for an Appeal # 4 Transcript Order
                                                            Form # 5 Amended Order Continuing The Bankruptcy Appellant
           08/04/2022                                       Panel Of The Ninth Circuit) (NB8) (Entered: 08/04/2022)

                                        176                 Notice Of Referral Of Appeal To United States Bankruptcy Appellate
                                        (17 pgs; 5 docs)    Panel Of The Ninth Circuit (BAP) with certificate of mailing (RE:
                                                            related document(s)169 Notice of Appeal and Statement of Election
                                                            (Official Form 417A) filed by Debtor Jamie Lynn Gallian)
                                                            (Attachments: # 1 Notice of Appeal and Statement of Election # 2
                                                            Notice of Transcripts Designated for An Appeal # 3 Transcript Order
                                                            Form # 4 Amended Order Continuing the Bankruptcy Appellant Panel
           08/04/2022                                       of the Ninth Circuit) (NB8) (Entered: 08/04/2022)

                                                            Receipt of Appeal Late Filing Fee - $0.00 by 12. Receipt Number
           08/04/2022                                       80076190. (admin) (Entered: 08/04/2022)

                                                            Receipt of Appeal Late Noticing Filing Fee - $0.00 by 12. Receipt
           08/04/2022                                       Number 80076190. (admin) (Entered: 08/04/2022)

                                        177                 Order Granting Houser Bros. Co. dba Rancho Del Rey Mobile Home
                                        (12 pgs)            Estate's Motion Objecting to Debtor's Claimed Homestead Exemption
                                                            in 16222 Monterey Lane, Space #376, Huntington Beach, CA 92649,
                                                            Docket No. 95 (BNC-PDF) (Related Doc # 95 ) Signed on 8/5/2022
           08/05/2022                                       (JL) (Entered: 08/05/2022)

                                        178                 Opposition to (related document(s): 147 Amended Motion (related
                                        (63 pgs)            document(s): 135 Motion to Avoid Lien Property Lien with The
                                                            Huntington Beach Gables Homeowners Association filed by Debtor
                                                            Jamie Lynn Gallian) filed by Debtor Jamie Lynn Gallian) Opposition
                                                            to Debtor's Amended Notice of Motion and Motion to Avoid Lien
                                                            Under 11 U.S.C. § 522(f) and Request for Hearing; Declaration of
                                                            Robert P. Goe in Support Thereof; Notice of Opposition and Request
                                                            for a Hearing with Proof of Service Filed by Creditor The Huntington
                                                            Beach Gables Homeowners Association (Goe, Robert) (Entered:
           08/05/2022                                       08/05/2022)

                                        179                 BNC Certificate of Notice - PDF Document. (RE: related
                                        (14 pgs)            document(s)177 Order RE: Objection to Debtor's Claim of
                                                            Exemptions (BNC-PDF)) No. of Notices: 0. Notice Date 08/07/2022.
           08/07/2022                                       (Admin.) (Entered: 08/07/2022)

                                        180                 Appeal transferred notice from BAP to USDC CC-22-1149 on
                                        (1 pg)              8/03/2022 (RE: related document(s)161 Notice of Appeal and
                                                            Statement of Election (Official Form 417A) filed by Debtor Jamie
           08/08/2022                                       Lynn Gallian) (GD) Modified on 8/8/2022 (GD). (Entered:


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CM/ECF - U.S. Bankruptcy Court (NG 1.6.3 - LIVE)                 https://cacb-ecf.sso.dcn/cgi-bin/DktRpt.pl?763101244833226-L_1_0-1
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                                                   08/08/2022)

                                        181        Substitution of attorney , Proof of service Filed by Debtor Jamie Lynn
           08/08/2022                   (4 pgs)    Gallian. (Briones, Bert) (Entered: 08/08/2022)

                                        182        Opposition to (related document(s): 167 Motion for Leave to Appeal
                                        (46 pgs)   filed by Debtor Jamie Lynn Gallian) Opposition and Request for
                                                   Hearing on Debtor's Motion for Leave From the Bankruptcy Appeal
                                                   Panel to Permit the Bankruptcy Court to Consider Debtor's Motion
                                                   for Reconsideration; Declaration of D. Edward Hays In Support; with
                                                   Proof of Service Filed by Creditor Houser Bros. Co. dba Rancho Del
           08/09/2022                              Rey Mobile Home Estates (Hays, D) (Entered: 08/09/2022)




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